This was an action on a note given by Thomas Conwell and John L. Morris, as his surety, to Derrickson, the plaintiff, for $180, dated 25th March, 1827, and payable in instalments, all of which fell due before 25th March, 1831. On the back of the note was credited $64 83in full; and Conwell produced the following receipt:
Received, 5th August, 1833, of Thomas Conwell, $64 83, in full ofall demands up to this date.
                                             (Signed,) JACOB DERRICKSON.
The defendant also proved the payment by plaintiff of a medical account to John L. Morris, after this note fell due:
On the part of the plaintiff, it was shown that the calculation was made and receipt written by a third person; that Derrickson was an illiterate man; and it was contended that this payment was in full of the interest up to the date, and that no part of the principal had been paid. The interest due at the time amounted to the sum paid.
The Court charged the jury that a receipt in full of all demands was very strong evidence that the money had been paid, butnot conclusive, if the party signing the receipt can satisfy the jury that there was a mistake, or any other matter showing that payment to the amount had not in fact been made. Roscoe Ev. 36.
                                            The plaintiff had a verdict.